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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,

vs.                                        CASE NO. 4:10-CR-22-SPM/WCS-2

CECIL RAY GANT,

     Defendant.
_____________________________/

      ORDER OF REFERENCE FOR PLEA PROCEEDINGS BEFORE A
                UNITED STATES MAGISTRATE JUDGE

      The Court has been informed that the Defendant in the above-styled case

wishes to enter a guilty plea and consents to having the guilty plea proceedings

conducted by a United States Magistrate Judge. Pursuant to the provisions of

28 U.S.C. § 636(b)(3) and N.D. Fla. Loc. R. 72.3, it is hereby

      ORDERED AND ADJUDGED that the above-captioned criminal case, be

referred to the Honorable William C. Sherrill, Jr., United States Magistrate Judge,

to conduct all proceedings required by Rule 11 of the Federal Rules of Criminal

Procedure incident to a guilty plea and to make a recommendation to the

undersigned concerning acceptance or rejection of the guilty plea.

      DONE AND ORDERED this seventeenth day of June, 2010.


                                  s/ Stephan P. Mickle
                               Stephan P. Mickle
                               Chief United States District Judge
